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                           Exhibit A
          Case Information sheet and all pleadings on file
               Complaint and Initial Fee Disclosure
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                                                              EX.A-02
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                                                              EX.A-03
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                                                              EX.A-04
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                                                              EX.A-05
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                                                              EX.A-06
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                                                              EX.A-07
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                                                              EX.A-08
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                                                               EX.A-13
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                                                               EX.A-14
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                                                               EX.A-15
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                                                               EX.A-16
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                                                               EX.A-17
     Case 2:19-cv-00226-GMN-VCF Document 1-2 Filed 02/06/19 Page   19 of 19
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     Attorney for Plaintiff
6                                              DISTRICT COURT
                                            CLARK COUNTY, NEVADA
7

8
     AMY BUCHANAN,                                )
                                       Plaintiff, ) Case No.: A-18-786564-C
9    vs.                                          )
                                                  ) Dept. No. Department 4
10   WATKINS & LETOFSKY, LLP, a Nevada            )
11
     Limited-Liability Partnership; DOES I-X; ROE )
     BUSINESS ENTITIES I-X,                       )
12                                                ) INITIAL FEE DISCLOSURE
                                     Defendants.  )
13                                                )
                                                  )
14

15
             Pursuant to NRS Chapter 19, as amended by Senate Bill 106, filing fees are submitted for

16   parties appearing in the above entitled action as indicated below:
17                   AMY BUCHANAN, Plaintiff                    $270.00
18
                     TOTAL REMITTED:                                   $270.00

19   Plaintiff demands a jury trial.

20           DATED December 24, 2018
21
                                                                              /s/James P. Kemp
22                                                                    JAMES P. KEMP, ESQ.
                                                                      Nevada Bar No. 006375
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26

27

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                                                            1                              EX.A-18
                                         Case Number: A-18-786564-C
